           Case 2:18-cv-00243-PBT Document 65 Filed 01/31/22 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



HERMINE BYFIELD,
                               Plaintiff,
                             vs.                                     CIVIL ACTION
HEALTHCARE REVENUE RECOVERY GROUP,                                NO. 2:18-cv-00243-PBT
LLC, et al.
                               Defendant(s).


                                               ORDER

        AND NOW, this ______________, day of __________________, 2022, upon

consideration of Defendant, Healthcare Revenue Recovery Group, LLC’s, Motion for Leave to

File a Reply Brief in Support of its Motion for Summary Judgment (ECF No. 57) and Response to

Plaintiff’s Further Statement of Additional Facts in Opposition to Summary Judgment, and any

response thereto, IT IS HEREBY ORDERED that Defendant’s Motion is GRANTED.

Defendant, Healthcare Revenue Recovery Group, LLC, may file its Reply Brief of no more than

ten (10) pages in length by February 10, 2022.

        IT IS FURTHER ORDERED that Defendant, Healthcare Revenue Recovery Group,

LLC may also file a Response to the eighty-one (81) paragraphs of additional facts raised in

Plaintiff’s Further Statement of Additional Facts in Opposition to Summary Judgment and the

attached Exhibit “1” to said filing.

                                               BY THE COURT

                                               _____________________________
                                               PETRESE B. TUCKER
                                               United States District Court Judge




{PH794610.1}
             Case 2:18-cv-00243-PBT Document 65 Filed 01/31/22 Page 2 of 5




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HERMINE BYFIELD,
                                 Plaintiff,
                               vs.                                      CIVIL ACTION
HEALTHCARE REVENUE RECOVERY GROUP, LLC,                              NO. 2:18-cv-00243-PBT
et al.
                                 Defendant(s).


   DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S MOTION
  FOR LEAVE TO FILE REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY
    JUDGMENT AND RESPONSE TO PLAINTIFF’S FURTHER STATEMENT OF
       ADDITIONAL FACTS IN OPPOSITION TO SUMMARY JUDGMENT

        Defendant, Healthcare Revenue Recovery Group, LLC (“HRRG”), by and through its

attorneys, Marks, O'Neill, O'Brien, Doherty & Kelly, P.C., move for leave to file a Reply brief in

support of their Motion for Summary Judgment and Response to Plaintiff’s Further Statement of

Additional Facts in Opposition to Summary Judgment. In support, HRRG avers as follows:

        1.         On December 14, 2021, HRRG moved under Rule 56 for Summary Judgment on

Plaintiff’s claims. See HRRG Motion for Summary Judgment (ECF No. 57).

        2.         HRRG’s Motion rested, in part, on the following grounds:

                  HRRG did not violate §1692f(1) of the FDCPA because the “Usual and
                   Customary” charge for Plaintiff’s treatment by the provider was expressly
                   authorized by agreement;

                  HRRG did not violate §1692f(1) of the FDCPA because HRRG’s Aug. 3, 2017,
                   letter at the time of mailing did not seek payment of an amount that was not
                   permitted by law;

                  Federal and state law do not recognize a cause of action under §1692f(1) of the
                   FDCPA against a debt collector for allegedly failing to comply with Act 6 of the
                   MVFRL;




{PH794610.1}
             Case 2:18-cv-00243-PBT Document 65 Filed 01/31/22 Page 3 of 5




                  Alternatively, HRRG is entitled to summary judgment based on the “Bona Fide
                   Error” defense.

        3.         On January 24, 2022, Plaintiff filed her opposition to HRRG’s Motion for Summary

Judgment. (ECF No. 64).

        4.         Plaintiff also filed her Response to the Statement of Undisputed Materials Facts

filed by HRRG and a Further Statement of Additional Facts in Opposition to Summary Judgment,

which includes eighty-one (81) paragraphs of additional facts that Plaintiff contends precludes

entry of summary judgment and an attached Exhibit “1”. (ECF No. 64-1, 64-2).

        5.         Exhibit “1” appears be a copy of a Settlement Conference Memorandum filed in

Ms. Byfield’s state court lawsuit filed in Philadelphia County Court of Common Pleas captioned

Hermine Byfield v. Desirae Schullere Douglas, et al. (Aug. Term, 2017, Case No. 03130).

        6.         Consistent with this Court’s Policies and Procedures, HRRG respectfully seeks

leave to file a Reply Brief to address new issues of fact raised and respond to the case law cited by

Plaintiff in her opposition, which HRRG submits fails to support Plaintiff’s argument that

summary judgment should be denied.

        7.         In particular, HRRG seeks leave to file a Reply Brief, inter alia, to address the

following issues:

                  Plaintiff’s inaccurate contention that the issues raised in HRRG’s motion were
                   decided in a prior case, Goldshteyn v. Healthcare Revenue Recovery Group, Inc.,
                   Civil Action No. 2:16-cv-05049-PBT, in which this Court denied HRRG’s Motion
                   for Judgment on the Pleadings based on the bona fide error defense;

                  Plaintiff’s argument that there was uninsured motorists coverage insurance
                   “available” under her Nationwide policy at the time of HRRG’s Aug. 3, 2017 letter;

                  Plaintiff’s contention that Nationwide applied the Act 6 reduction to the Provider’s
                   $900.00 medical bill as part of its $13,000.00 settlement with Plaintiff to resolve
                   her claims against Nationwide for failing to pay UM and UIM benefits;




{PH794610.1}                                        2
             Case 2:18-cv-00243-PBT Document 65 Filed 01/31/22 Page 4 of 5




                  Plaintiff’s argument that the Provider’s bill was “payable” at the time of HRRG’s
                   Aug. 3, 2017 letter;

                  Whether the Court may properly consider Exhibit “1” to Plaintiff’s Further
                   Statement of Additional Facts in Opposition to Summary Judgment; and

                  Case law cited by Plaintiff that she contends supports her argument that HRRG’s
                   actions violated the FDCPA and cannot be considered a bona fide error.

        8.         HRRG also seeks leave to file a Response to Plaintiff’s Further Statement of

Additional Facts in Opposition to Summary Judgment, in which Plaintiff introduced eighty-one

(81) paragraphs of new facts that were not contained in HRRG’s original Statement of Undisputed

Material Facts that she claims are undisputed and preclude summary judgment.

        9.         HRRG respectfully submits that there is good cause to allow HRRG to file a Reply

brief to address Plaintiff’s arguments and authorities, as well as Plaintiff’s presentment of

additional facts which she claims are undisputed.

        10.        HRRG further submits that good causes exists to allow HRRG to respond to

Plaintiff’s Further Statement of Additional Facts in Opposition to Summary Judgment.

        11.        In addition, the Court’s Policies and Procedures direct that any Reply briefs should

be no longer than seven (7) pages.

        12.        HRRG respectfully asks for permission to exceed the Court’s page limit by three

(3) additional pages due to the number and complexity of the issues.

        13.        The undersigned has conferred with opposing counsel and Plaintiff has no objection

to HRRG’s request to submit a Reply Brief.

        14.        Finally, allowing HRRG to file a Reply will not impact any of the deadlines set

forth by the Court as not trial has been scheduled to date.

        WHEREFORE, Defendant, Healthcare Revenue Recovery Group, LLC, respectfully

requests that this Honorable Court grant its motion and enter an Order permitting them to file a


{PH794610.1}                                        3
           Case 2:18-cv-00243-PBT Document 65 Filed 01/31/22 Page 5 of 5




Reply Brief on no more than ten (10) pages by February 10, 2022, and to file a Response to

Plaintiff’s Further Statement of Additional Facts in Opposition to Summary Judgment.

                                                  Respectfully submitted,

                                                  MARKS, O’NEILL, O’BRIEN,
                                                  DOHERTY & KELLY, P.C.

                                                  /s/ Cecil J. Jones, Esquire
                                                  Cecil J. Jones, Esquire
                                                  Attorney for Defendant,
                                                  Healthcare Revenue Recovery Group, LLC

Date: January 31, 2022




{PH794610.1}                                  4
